             Case 5:21-cv-00616-JWH-SP Document 183-19 Filed 09/07/22 Page 1Statement
                                                                             of 3 Page   ID
                                                                                      Date: 04/12/2021
                                              #:2531
                                                                                                   Demand Loan Payoff
 Borrower           ILYA ALEKSEYEFF                                               Servicer     FCI Lender Services, Inc.
                    828 WEST MOUNT DRIVE                                                       8180 E Kaiser Blvd,
                    WEST HOLLYWOOD, CA 90069                                                   Anaheim, CA 92808-2277
                    Account: 399299367                                                         800-931-2424
              This Demand Issued by FCI as Loan Servicer hereby Voids All prior Demands In Any Form and Requires the Receiver of this
                                  Demand to Call Prior to Payoff to Verify Funds, as Payoff Amounts May Change.

                  Estimated Payoff Date                                                                   4/23/2021
                  Loan Maturity Date                                                                     12/31/2020
                  Interest Paid to Date                                                                   12/1/2020
                  Next Payment Due Date                                                                     1/1/2021
                  Unpaid Principal Balance of Loan                                                        $80,000.00
                  Deferred Unpaid Principal Due                                                                $0.00
                  Note Interest Rate                                                                       14.0000 %
                  Current Interest Rate (May include Default Interest Rate)                                36.0000 %
                  Note Rate Interest Due from 12/1/2020 to 4/23/2021                                       $4,448.89
                  Unaccrued Balance of Default Interest from 12/31/2020 to 4/23/2021                       $5,524.44
                  Default Interest From 12/31/20 - 4/23/21 WAIVED if paid by 4/23/2021                    -$5,524.44
                  Accrued/Unpaid Interest Due (May include Unpaid Default Interest)                           $0.00
                  Deferred Unpaid Interest Due                                                                $0.00
                  Unpaid Loan Fees                                                                            $0.00
                  Prepayment Penalty Due                                                                      $0.00
                  Other Payments                                                                              $0.00
                  Late Charges Due from Paid-to-Date                                                          $0.00
                  Late Charges Unpaid/Due from Previous Payments                                              $0.00
                  Late Charges Unpaid/Due & Deferred from Previous Servicer                                   $0.00
                  Unpaid Loan Charges or Advances                                                            $93.33
                  Estimated Payoff Charges from Servicer                                                    $301.00
                  Suspense Balance                                                                            $0.00
             Estimated Amount to Fully Pay Off this Loan:                                                $84,843.22

                    Daily Interest Amount if Paying To: 4/23/2021                                           $80.00


PLEASE BE ADVISED THAT THIS DEMAND IS ACCURATE AS OF ISSUANCE DATE BUT IT IS SUBJECT TO CHANGE. Additional interest, late charges, fees,
and costs may be incurred by the Borrower between the Statement Date and the Payoff Date. ACCORDINGLY, PLEASE CALL (800) 931-2424 ext. 651 TO
VERIFY THE PAYOFF AMOUNT PRIOR TO ISSUING PAYMENT. As required by state law, upon receipt of payment in FULL, FCI will process the release of
lien, unless directed otherwise by lender.

Outstanding Checks: **Default WAIVED if paid off on or prior to 4/23/2021**
Special Instructions:
(1) Only Certified Funds or Wire Transfer will be accepted for Immediate Payoff.
(2) Please make your disbursement payable to: FCI Lender Services, Inc.
(3) We reserve the right to amend this demand should any changes occur that would increase the total amount for payoff.
(4) PLEASE NOTE THIS DEMAND EXPIRES AND BECOMES NULL AND VOID ON 04/23/2021, as follows: (A) for Payment by Wire, at 2:00 p.m. PT;
and (B) for Payment by Certified Funds, at 5:00 p.m. PT.
(5) THE DEMAND FEE IS DUE EVEN IF YOUR TRANSACTION IS CANCELLED.

Sincerely,

JoeAnna Garcia
JoeAnna Garcia
FCI Lender Services, Inc.
800-931-2424 x 651
Fax: 714-282-2429




                FCI Lender Services, Inc. * PO Box 27370 * Anaheim * CA 92809-0112 * NMLS # 4920 * DRE # 01022780 * www.trustfci.com
                                                                                                                       Exhibit H
               Case 5:21-cv-00616-JWH-SP Document 183-19 Filed 09/07/22 Page 2 of 3 Page ID
 Payment        Note      Payment               #:2532
                                                   Apply To                        Unpaid Int                                                           Principal
 Due Date         Rate             Amount      Principal      Interest     Reserve    Impound     Other    Unp. Int. Acc Late Chg       Balance          Balance

12/31/2020 14.0000%               $ 933.33        $ 0.00     $ 933.33        $ 0.00      $ 0.00   $ 0.00        $ 0.00     $ 0.00           $ 0.00    $ 80,000.00
01/01/2021 36.0000% 1               $ 80.00       $ 0.00      $ 80.00        $ 0.00      $ 0.00   $ 0.00        $ 0.00     $ 0.00           $ 0.00    $ 80,000.00
02/01/2021 36.0000% 1            $ 2,400.00       $ 0.00   $ 2,400.00        $ 0.00      $ 0.00   $ 0.00        $ 0.00     $ 0.00           $ 0.00    $ 80,000.00
03/01/2021 36.0000% 1            $ 2,400.00       $ 0.00   $ 2,400.00        $ 0.00      $ 0.00   $ 0.00        $ 0.00     $ 0.00           $ 0.00    $ 80,000.00
04/01/2021 36.0000% 1            $ 2,400.00       $ 0.00   $ 2,400.00        $ 0.00      $ 0.00   $ 0.00        $ 0.00     $ 0.00           $ 0.00    $ 80,000.00
04/23/2021 36.0000% 1            $ 1,760.00       $ 0.00   $ 1,760.00        $ 0.00      $ 0.00   $ 0.00        $ 0.00     $ 0.00           $ 0.00    $ 80,000.00
                                 $ 9,973.33       $ 0.00   $ 9,973.33        $ 0.00      $ 0.00   $ 0.00        $ 0.00     $ 0.00
 1   Using Default Interest Rate
 2   This transaction was already accomplished by the borrower.
 3   Rounding adjustment to match total payment amount.



                                                                       Itemization of Other Fees
                                                           Actual Charge Subject to County Recorder's Office
                              Description                                                         Destination                       Amount
                             Demand Fee                                                                                              $30.00
                             Recording Fee-Estimate Only                                                                             $46.00
                             Reconveyance Fee                                                                                        $45.00
                             Senate Bill SB-2                                                                                       $150.00
                             Demand Update Fee 4/12/21                                                                               $30.00
                                                                                                                                    $301.00



                                                                         Itemization of Unpaid Charges
             Date        Description                                                 Interest Rate   Unpaid Balance      Accrued Interest            Total Due
         03/03/2021      Balloon Late Fee-To Investor                                      0.000%            $93.33                 $0.00              $93.33
                                                                                                                                                       $93.33



                                                                                  Property List
           13923 GILMORE STREET, VAN NUYS CA 91401




                    FCI Lender Services, Inc. * PO Box 27370 * Anaheim * CA 92809-0112 * NMLS # 4920 * DRE # 01022780 * www.trustfci.com
                                                                                                                                    Exhibit H
       Case 5:21-cv-00616-JWH-SP Document 183-19 Filed 09/07/22 Page 3 of 3 Page ID
                                        #:2533
                                              IMPORTANT DISCLOSURES

FCI Lender Services, Inc. (“FCI”) is committed to professional and courteous service to our
customers. Our Customer Service Department is an experienced group of men and women who are
trained and dedicated to answering your questions, addressing your concerns, and resolving any and
all issues to your satisfaction. If you have any complaints, please call us during our regular business
hours at (800) 931-2424 ext. 651, Mon - Fri, 8:00 a.m. - 5:00 p.m., PT.

OREGON CONSUMERS ONLY: The Director of the Department of Consumer and Business Services
prescribes by rule. Residential mortgage loan servicers are regulated by the Oregon Division of
Financial Regulation. To file a complaint, call (888) 877-4894 or visit http://dfr.oregon.gov. You can
also submit a completed form complaint by email to dcbs.dfcsmail@oregon.gov, by mail to PO Box
14480 Salem, OR 97309-0405, or by fax to 503-947-7862.

PENNSYLVANIA CONSUMERS ONLY: The lender retains a security interest in your residential real
estate whenever the security interest has not been released.

COLORADO CONSUMERS ONLY: FCI Lender Services, Inc.’s agent in Colorado is located at 1776
S. Jackson Street #900, Denver, CO 80210-3808; PH: (720) 441-0010 option #1.

TEXAS CONSUMERS ONLY: COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE
SHOULD BE SENT TO THE DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601 NORTH
LAMAR, SUITE 201, AUSTIN, TX 78705. A TOLL-FREE CONSUMER HOTLINE IS AVAILABLE AT
877-276-5550.     A complaint form and instructions may be downloaded and printed from the
Department’s website located at www.sml.texas.gov or obtained from the department upon request
by mail at the address above, by telephone at its toll-free consumer hotline listed above, or by email
at smlinfo@sml.texas.gov.

MASSACHUSETTS CONSUMERS ONLY: NOTICE OF IMPORTANT RIGHTS YOU HAVE THE RIGHT TO
MAKE A WRITTEN OR ORAL REQUEST THAT TELEPHONE CALLS REGARDING YOUR DEBT NOT BE MADE
TO YOU AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL REQUEST WILL BE VALID FOR ONLY TEN
DAYS UNLESS YOU PROVIDE WRITTEN CONFIRMATION OF THE REQUEST POSTMARKED OR
DELIVERED WITHIN SEVEN DAYS OF SUCH REQUEST. YOU MAY TERMINATE THIS REQUEST BY
WRITING TO THE CREDITOR.

NEW YORK CONSUMERS ONLY: FCI Lender Services, Inc. (“FCI”) is registered with the
Superintendent of the New York State Department of Financial Services (NMLS #4920). You may
obtain information about how to file a complaint about FCI with the New York State Department of
Financial Services, by visiting the Department’s website at www.dfs.ny.gov or by calling the
Department at 800-342-3736.


IMPORTANT NOTICE: IF YOU OR YOUR ACCOUNT ARE SUBJECT TO PENDING BANKRUPTCY
PROCEEDINGS, OR IF YOU RECEIVED A BANKRUPTCY DISCHARGE ON THIS DEBT, THIS
STATEMENT IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT AN ATTEMPT TO
COLLECT A DEBT. IF YOU ARE NOT IN BANKRUPTCY OR DISCHARGED OF THIS DEBT, BE
ADVISED THAT FCI IS A DEBT COLLECTOR AND IS ATTEMPTING TO COLLECT A DEBT. ANY
INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.




          FCI Lender Services, Inc. * PO Box 27370 * Anaheim * CA 92809-0112 * NMLS # 4920 * DRE # 01022780 * www.trustfci.com
                                                                                                               Exhibit H
